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 1   [Stipulating parties listed on signature page]

 2
                                   UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
 4

 5
     In re: CATHODE RAY TUBE (CRT)                        )   Case No. 07-cv-5944 JST
 6   ANTITRUST LITIGATION                                 )
                                                          )   MDL No. 1917
 7                                                        )
     This Document Relates to:                                STIPULATION OF DISMISSAL
                                                          )
 8                                                        )
     Electrograph Systems, Inc. et al. v. Technicolor
 9                                                        )
     SA, et al., No. 13-cv-05724
                                                          )
10   Interbond Corporation of America v.                  )
     Technicolor SA, et al., No. 13-cv-05727              )
11                                                        )
     Office Depot, Inc. v. Technicolor SA, et al., No.
     13-cv-05726                                          )
12                                                        )
     P.C. Richard & Son Long Island Corporation,          )
13   et al. v. Technicolor SA, et al., No. 13-cv-05725    )
14   Tech Data Corp., et al. v. Hitachi, Ltd., et al.,    )
     No. 13-cv-00157                                      )
15                                                        )
     Schultze Agency Services, LLC v. Technicolor         )
16   SA, Ltd., et al., No. 13-cv-05668                    )
17                                                        )
                                                          )
18                                                        )

19
20           Plaintiffs Electrograph Systems, Inc. and Electrograph Technologies Corp.; Interbond

21   Corporation of America; Office Depot, Inc.; P.C. Richard & Son Long Island Corporation; ABC

22   Appliance, Inc.; MARTA Cooperative of America, Inc.; Tech Data Corporation and Tech Data

23   Product Management, Inc.; and Schultze Agency Services on behalf of Tweeter Opco, LLC and

24   Tweeter Newco, LLC (collectively, “Plaintiffs”), and Defendants Mitsubishi Electric Corporation;

25   Mitsubishi Electric US, Inc., formerly known as Mitsubishi Electric & Electronics USA, Inc.; and

26   Mitsubishi Electric Visual Solutions America, Inc., individually and as successor to Mitsubishi

27   Digital Electronics America, Inc.1 (“Mitsubishi Electric”), on the other hand, hereby stipulate as

28   1
       The Court previously granted summary judgment in favor of Defendants Mitsubishi Electric US,
     Inc. and Mitsubishi Electric Visual Solutions America, Inc. [Dkt. No. 4559]. The Court, however,
                                                      1
                                              STIPULATION OF DISMISSAL
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 1   follows:

 2          1.      Plaintiffs and Mitsubishi Electric seek dismissal of these actions with prejudice as

 3   brought against Mitsubishi Electric only.

 4          2.      Plaintiffs and Mitsubishi Electric agree that each party shall bear its own costs and

 5   attorneys’ fees in connection with this action.

 6          3.      This stipulation does not affect the rights or claims of Plaintiffs against any defendant

 7   or alleged co-conspirator in this litigation other than Mitsubishi Electric.

 8          WHEREFORE, the parties respectfully request that this Court issue an Order of Dismissal

 9   with respect to Plaintiffs’ actions as brought against Mitsubishi Electric only.
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                                                     T ES D      TC
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11          PURSUANT TO STIPULATION, IT IS SO ORDERED.




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                                                            UNIT
                                                                       S O O RDERE
13           June 23, 2016
     Dated:___________________                                   IT IS
                                                         ______________________________________




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                                                                          Hon. Jon S. Tigar
14                                                                   United States District Judge
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27   has not yet entered a final judgment in favor of those parties pursuant to Federal Rule of Civil
     Procedure 54(b). The parties have included Mitsubishi Electric US, Inc. and Mitsubishi Electric
28   Visual Solutions America, Inc. in this Stipulation in order to bring finality to these proceedings
     between Plaintiffs and Mitsubishi Electric.
                                                        2
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 1          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

 3

 4   Dated: June 23, 2016                            /s/ Philip J. Iovieno

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                                                     Tech Data Corporation and Tech Data Product
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23                                                   Newco, LLC

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                                             STIPULATION OF DISMISSAL
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26                                    Corporation

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28

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                               STIPULATION OF DISMISSAL
